      Case: 1:18-cv-05344 Document #: 3 Filed: 08/06/18 Page 1 of 1 PageID #:15                                              u,f
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                  District Court for the Northern District Of lllinois
                            Appearance Form for Pro Se Litigants


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party (that is, without an attorney). PIease PRINT leg 18CV5344
                                                       JUDGE BUCKLO
                                                       MAG. JUDGE VALDEZ

Case Title:                                                          C



An appearance is hereby filed by the undersigned as a pro se litigant:
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